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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CAROLYN BRADSHAW,                   :
                                    :               CIVIL ACTION FILE
     Plaintiff,                     :               NO. ___
v.                                  :
                                    :
MICHAEL JONES and                   :               [On Removal from State Court
ALABAMA CARRIERS, LLC               :               of Dekalb County, 23A00594]
                                    :
     Defendants.                    :
____________________________________/

                             NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. § 1441(a) et seq., Defendants Alabama Carriers, LLC

(“Alabama Carriers”) and Michael Jones, hereby file this Notice of Removal of the

above captioned action from the State Court of Dekalb County, State of Georgia to

the United States District Court for the Northern District of Georgia, and in support

thereof states as follows:

      I.     PROCEDURAL HISTORY

      Alabama Carriers and Michael Jones are named defendants in Civil Action

No. 23A00594, in the State Court of Dekalb County, Georgia, styled, Carolyn

Bradshaw v. Michael Jones and Alabama Carriers, LLC, (the “Action”). Carolyn

Bradshaw (“Plaintiff”) filed her Complaint in the Action on February 7, 2023

(“Complaint”). (Compl., Ex. A). Alabama Carriers was served with summons and
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the Complaint on February 13, 2023. (See Service of Process, Ex. B). Michael Jones

was served with summons and the Complaint on February 16, 2023. (See Service

of Process, Ex. C). Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all

process, pleadings, and orders served upon Alabama Carriers and Michael Jones are

attached as Exhibits A, B, C, and D.

      II.    DIVERSITY OF CITIZENSHIP JURISDICTION

      A civil action brought in the state court of which the district court of the

United States has original jurisdiction may be removed by the defendant or

defendants to the district court of the United States for the district and division

embracing the place where such action is pending. 28 U.S.C. § 1441(a). The United

States district courts shall have original jurisdiction of all civil actions where the

matter in controversy exceeds the sum of $75,000, exclusive of interests and costs,

and is between citizens of different States. See 28 U.S.C. § 1332(a).

             A.    Complete Diversity of Citizenship Exists

      1.     Plaintiff is a resident of the State of Georgia. (Compl., ¶ 1, Ex. A).

      2.     Pursuant to 28 U.S.C. § 1332(c)(1), a corporation is a citizen of every

State by which it is incorporated and where it has its principal place of business.

“[A] limited liability company is a citizen of any state of which a member of the

company is a citizen.” Rolling Greens MHP, L.P. v. Comcast SCH Holdings, LLC,

374 F.3d 1020, 1022 (11th Cir. 2004).


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      3.     Alabama Carriers is registered as a Tennessee limited liability

company. Its principal place of business is also located in Tennessee. The sole

member of Alabama Carriers is Daseke TSH LLC.

      4.     Daseke TSH, LLC is a Delaware limited liability company, whose sole

member is Daseke Companies, Inc.

      5.     Daseke Companies, Inc. is a Delaware corporation with its principal

place of business located in the State of Texas.

      6.     Michael Jones is a citizen and resident of the State of Alabama.

      7.     Because Plaintiff is a citizen of Georgia and the Defendants are citizens

of Tennessee, Alabama, Delaware, and Texas complete diversity exists.

             B.    The Amount in Controversy Exceeds the Jurisdictional
                   Minimum

      8.     Under 28 U.S.C. § 1332, the U.S. District Courts have original

jurisdiction over all actions between citizens of different states where the matter in

controversy exceeds $75,000.00.

      9.     In this case, the amount in controversy is apparent on the face of the

Complaint.

      10.    This Court is permitted to make “‘reasonable deductions, reasonable

inferences, or other reasonable extrapolations’ from the pleadings to determine

whether it is facially apparent that a case is removable.” Roe v. Michelin N. Am.,

Inc., 613 F.3d 1058, 1061 (11th Cir. 2010). This Court is also permitted to use its

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“judicial experience and common sense in determining whether the case stated in a

complaint meets federal jurisdictional requirements.” Id. at 1064. Even when a

plaintiff does not specify the amount of damages they seeks, the amount in

controversy requirement is met when plaintiff pleads he/she suffered damages in the

form of permanent bodily injury, past, current, and future medical bills, and past,

current, and future pain and suffering. Eason v. Int'l Paper Co., No. 1:18-CV-05271-

ELR, 2019 WL 13207584, at *2 (N.D. Ga. Apr. 10, 2019); see also Gebbia v. Wal-

Mart Stores, Inc., 233 F.3d 880, 882–83 (5th Cir. 2000) (finding it facially apparent

that plaintiff's claimed damages exceeded $75,000 because plaintiff “alleged

damages for medical expenses, physical pain and suffering, mental anguish and

suffering, loss of enjoyment of life, loss of wages and earning capacity, and

permanent disability and disfigurement”); Turner v. Wilson Foods Corp., 711 F.

Supp. 624, 626 (N.D. Ga. 1989) (finding a complaint alleging severe and permanent

injuries, pain and suffering, and lifelong medical expenses was sufficient to meet the

amount in controversy).

      11.    This is a negligence action arising from a motor vehicle collision on

southbound I-85 involving a tractor-trailer. Plaintiff alleges that Alabama Carriers

negligently entrusted its tractor to Michael Jones who caused her injuries. Plaintiff

alleges she suffered substantial and permanent injuries as a result of the accident.

She seeks to recover for her past, present, and future and lifelong medical expenses,

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pain and suffering, personal inconvenience, and inability to lead a normal life as a

result of her “severe” and “permanent” injuries. She also seeks punitive damages to

“punish and deter Defendants [and] other from such reckless, wanton conduct in the

future.” Ex. A, Compl., ¶¶ 15; 18 (a)-(g).

      12.     Because Plaintiff’s claims are of a nature that the amount in controversy

exceeds the jurisdictional minimum amount of $75,000, this Court has jurisdiction.

              C.    Unanimity Exists

      13.     When a civil action is removed, all defendants who have been properly

joined and served must join in or consent to the removal of the action. 28 U.S.C. §

1446(b)(2)(A).

      14.     Both Alabama Carriers and Michael            Jones consent to removal.

Therefore, the unanimity requirement under 28 U.S.C. § 1446(b)(2)(A) is met.

      III.    REMOVAL IS TIMELY

      15.     Alabama Carriers received service of the summons and Complaint on

February 13, 2023 and Michael Jones was served on February 16, 2023.

      16.     Alabama Carriers and Michael Jones have filed this Notice within thirty

(30) days after their receipt of the “initial pleadings setting forth the claim for relief

upon which such action or proceeding is based,” in accordance with 28 U.S.C. §

1446(b)(1).

      17.     Specifically, Defendants have filed this Notice within thirty days of


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their receipt of the summons and Complaint.

      18.     Defendants have timely removed this action under 28 U.S.C. §

1446(b)(3).

      IV.     VENUE IS PROPER

      19.     Venue of the removal is proper under 28 U.S.C. § 1441(a) because this

Honorable Court is the United States District Court for the district and division

corresponding to the place where the state court Action is pending.

      20.     A true and correct copy of this Notice of Removal will be filed with the

Clerk of the State Court of Dekalb County, Georgia in accordance with 28 U.S.C. §

1446(d), along with the Notice of Notice of Removal, a copy of which is attached

and will be served on all parties. (See Notice of Filing Notice of Removal, Ex. E).

      WHEREFORE, Alabama Carriers, LLC and Michael Jones, without

waiving, and in preserving all objections and motions, prays that the civil action now

pending against it in the State Court of Dekalb County, Georgia be removed

therefrom to this Honorable Court and that further proceedings be conducted in this

Honorable Court as provided by law.

      This 15th day of March, 2023.




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                                     WEINBERG WHEELER HUDGINS
                                     GUNN & DIAL, LLC

                                     /S/ CECILIA D. OROZCO__
                                     Joshua S. Wood
                                     Georgia State Bar No. 881696
                                     Cecilia D. Orozco
                                     Georgia Bar No. 562696
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D of the United States District Court of the

Northern District of Georgia, the undersigned certifies that the foregoing submission

to the Court was computer-processed, double-spaced between lines, and used Times

New Roman font of 14-point size.


                                             WEINBERG, WHEELER, HUDGINS,
                                             GUNN & DIAL, LLC

                                             /S/ CECILIA D. OROZCO__
                                             Cecilia D. Orozco




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

furnished to all counsel of record via electronic mail as follows:

                               Archie I. Grubb, II
                         Morgan & Morgan Atlanta, PLLC
                           408 12th Street – Suite 200
                            Columbus, Georgia 31901
                           agrubb@forthepeople.com

      This 15th day of March, 2023.

                                           WEINBERG, WHEELER, HUDGINS,
                                           GUNN & DIAL, LLC

                                           /S/ CECILIA D. OROZCO __
                                           Cecilia D. Orozco




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